 Case 3:23-cv-03751-SPM Document 9 Filed 12/12/23 Page 1 of 1 Page ID #433




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         SOUTHER DISTRICT OF ILLINOIS


 ST. PAUL FIRE AND MARINE INSURANCE
 COMPANY,
                                                         Case No.: 3:23-cv-03751
                          Plaintiff,

         v.

  GENZYME CORPORATION, et al.,

                          Defendants.



                                  NOTICE OF DISMISSAL

       Now comes St. Paul Fire and Marine Insurance Company (“St. Paul”), by and through

counsel, and hereby dismisses this action pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i). No opposing

party has served either an answer or a motion for summary judgment.

Dated: December 12, 2023                   Respectfully submitted,

                                           ST. PAUL FIRE AND MAR. INS. CO.

                                           By: /s/ Michael H. Passman
                                           One of its attorneys

                                           Michael H. Passman – IL ARDC # 6297381
                                           USERY & ASSOCIATES
                                           215 Shuman Blvd | Third Floor West
                                           Naperville, IL 60563
                                           Direct: 630.961.8087
                                           Main: 917.778.6680

                                           Fax: 844.571.3789
                                           Email: mpassma2@travelers.com

                                           Please address all correspondence sent by mail to:

                                           P.O. Box 2996
                                           Hartford, CT 06104-2996
